Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado PageFILED
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Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 2 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 3 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 4 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 5 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 6 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 7 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 8 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 9 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 10 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 11 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 12 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 13 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 14 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 15 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 16 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 17 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 18 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 19 of 20
Case 1:17-cv-03072-GPG Document 1 Filed 12/19/17 USDC Colorado Page 20 of 20
